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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13-30188
         Keith E Crumb Jr
         Rachel M Crumb
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 07/29/2013.

         2) The plan was confirmed on 10/11/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 08/04/2014, 01/27/2015, 02/09/2016.

         5) The case was dismissed on 03/11/2016.

         6) Number of months from filing to last payment: 30.

         7) Number of months case was pending: 39.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $41,258.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor            $43,139.00
         Less amount refunded to debtor                           $4.68

 NET RECEIPTS:                                                                                  $43,134.32


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                   $0.00
     Court Costs                                                             $0.00
     Trustee Expenses & Compensation                                     $1,739.51
     Other                                                                   $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $1,739.51

 Attorney fees paid and disclosed by debtor:                   $0.00


 Scheduled Creditors:
 Creditor                                     Claim         Claim            Claim        Principal      Int.
 Name                              Class    Scheduled      Asserted         Allowed         Paid         Paid
 AMERICAN FINCO                 Unsecured     10,408.00     10,555.96        10,555.96       3,708.21        0.00
 BLUEGREEN CORPORATION          Unsecured     19,715.27            NA               NA            0.00       0.00
 CITIMORTGAGE INC               Unsecured           0.00          0.00             0.00           0.00       0.00
 GREEN TREE                     Unsecured           0.00    23,037.07        23,037.07       8,092.74        0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      7,718.00       9,634.85         9,634.85      3,384.64        0.00
 PRESENCE HEALTH                Unsecured            NA         112.00           112.00          34.66       0.00
 STELLAR RECOVERY INC DISH NETW Unsecured         103.00           NA               NA            0.00       0.00
 VERIZON                        Unsecured         700.00           NA               NA            0.00       0.00
 ATG CREDIT VALLEY IMAGING CON Unsecured           31.00           NA               NA            0.00       0.00
 ATG CREDIT RUSH-COPLEY PRIMAR Unsecured           20.00           NA               NA            0.00       0.00
 CAB SERV FAMILY MEDICAL GROUP Unsecured          142.00           NA               NA            0.00       0.00
 CDA PONTIAC APLM LTD           Unsecured         347.00           NA               NA            0.00       0.00
 CDA PONTIAC ADVANCED UROLOGY Unsecured           176.00           NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       7,586.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       6,375.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       5,500.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       5,125.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       4,318.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       4,238.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       4,128.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       3,500.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       3,302.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       2,750.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       2,750.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       2,302.00            NA               NA            0.00       0.00
 EDUCATION DEPT OF EDUCATION/N Unsecured       2,125.00            NA               NA            0.00       0.00



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 Scheduled Creditors:
 Creditor                                         Claim         Claim        Claim        Principal       Int.
 Name                                  Class    Scheduled      Asserted     Allowed         Paid          Paid
 EDUCATION DEPT OF EDUCATION/N      Unsecured      2,125.00            NA          NA             0.00        0.00
 EDUCATION DEPT OF EDUCATION/N      Unsecured      2,000.00            NA          NA             0.00        0.00
 EDUCATION DEPT OF EDUCATION/N      Unsecured      1,595.00            NA          NA             0.00        0.00
 EDUCATION DEPT OF EDUCATION/N      Unsecured      1,264.00            NA          NA             0.00        0.00
 EDUCATION DEPT OF EDUCATION/N      Unsecured      1,085.00            NA          NA             0.00        0.00
 DISCOVER                           Unsecured           9.00           NA          NA             0.00        0.00
 DIVERSIFIED SVS GROUP RUSH COPL    Unsecured         583.00           NA          NA             0.00        0.00
 HSBC BANK                          Unsecured         351.00           NA          NA             0.00        0.00
 ILLINOIS COLLECTION JOLIET RADIO   Unsecured         125.00           NA          NA             0.00        0.00
 MERCHANTS CR EDWARD HOSPITAL       Unsecured         100.00           NA          NA             0.00        0.00
 MERCHANTS CR EDWARD HOSPITAL       Unsecured         100.00           NA          NA             0.00        0.00
 US DEPARTMENT OF EDUCATION         Unsecured      8,261.00     74,508.94    74,508.94      26,174.56         0.00


 Summary of Disbursements to Creditors:
                                                                 Claim          Principal                Interest
                                                               Allowed              Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                          $0.00                $0.00               $0.00
       Mortgage Arrearage                                        $0.00                $0.00               $0.00
       Debt Secured by Vehicle                                   $0.00                $0.00               $0.00
       All Other Secured                                         $0.00                $0.00               $0.00
 TOTAL SECURED:                                                  $0.00                $0.00               $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                               $0.00                $0.00               $0.00
        Domestic Support Ongoing                                 $0.00                $0.00               $0.00
        All Other Priority                                       $0.00                $0.00               $0.00
 TOTAL PRIORITY:                                                 $0.00                $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                              $117,848.82        $41,394.81                   $0.00


 Disbursements:

         Expenses of Administration                              $1,739.51
         Disbursements to Creditors                             $41,394.81

 TOTAL DISBURSEMENTS :                                                                          $43,134.32




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/04/2016                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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